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                    UNITED STATES DISTRICT COURT
              FOR THE SOUTHERN DISTRICT OF MISSISSIPPI
                          WESTERN DIVISION

UNITED STATES OF AMERICA


VERSUS                               CRIMINAL ACTION NO. 5:07cr17-DCB-JCS


MICHAEL EARL TYLER                                                 DEFENDANT

                                     ORDER

     This cause is before the Court on the defendant’s Motion for

Reduction of Sentence pursuant to 18 U.S.C. § 3582(c)(2) [docket

entry no. 266]. The defendant requests a reduction of his sentence

pursuant to the recent amendments to the sentencing guidelines

applicable to offenses involving cocaine base and the subsequent

decision by the United States Sentencing Commission to make this

amendment retroactive.        Having carefully considered the motion,

information   provided   by    the    United   States   Probation     Office,

applicable statutory and case law, and being otherwise fully

advised in the premises, the Court finds and orders as follows:

     On October 25, 2007, the defendant entered a plea of guilty to

count 2 of the indictment, which charged the defendant with

conspiracy to distribute cocaine base, i.e. crack cocaine, pursuant

to 21 U.S.C. § 841(a)(1).      The defendant was sentenced on February

26, 2008, to a term of 292 months imprisonment, a five year term of

supervised release, and a $1,500.00 fine. The defendant had a base

offense level of 34 and his criminal history category was IV.              His

base level was increased by 4 levels because he was an organizer or
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leader     of   a   criminal     activity     that     involved     five    or    more

participants or was otherwise extensive.                His base level was also

increased by 2 levels for possessing a dangerous weapon.                              The

defendant received a 3 level downward reduction for acceptance of

responsibility.       As a result, the defendant was assessed a total

offense    level     of   37   with   a   criminal     history    category       of    IV

providing a guideline range of 292 to 365 months imprisonment.                        As

previously stated, the Court sentenced him to the minimum 292

months.

        Tyler now moves for a reduction of his sentence pursuant to

Amendment 706 to the Sentencing Guidelines, which lowers the base

offense levels applicable to crack cocaine offenses. Amendment 706

went into effect on November 1, 2007.                On December 11, 2007, the

United States Sentencing Commission determined that Amendment 706

would     apply     retroactively       through      United   States     Sentencing

Guidelines Manual § 1B1.10, which became effective on March 3,

2008.     The result of the amendment and its retroactivity is that

this Court, pursuant to 18 U.S.C. § 3582(c)(2), has the discretion

to reduce the terms of a defendant’s imprisonment when certain

criteria are met.

        Tyler is not eligible for a reduction of his sentence pursuant

to this amendment.             Since Amendment 706 went into effect on

November 1, 2007 and the defendant was not sentenced until February

26, 2008, the new guidelines–-to whatever extent applicable to his

case–-have already been taken into consideration.                          Thus, the
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defendant’s request for a sentence reduction is without merit.

     In addition, because the Court finds that the defendant is not

eligible for any reduction pursuant to Amendment 706, his argument

that Amendment 709 should be applied to a new sentence is moot.

                     III. CONCLUSION AND ORDER

     Based upon the foregoing analysis and authorities,

     IT IS HEREBY ORDERED that the defendant’s Motion for Reduction

of Sentence [docket entry no. 266] is DENIED.

     IT IS FURTHER ORDERED that all other terms and provisions of

the original judgment remain unchanged and in full force and

effect.

     SO ORDERED, this the 5th day of October 2009.

                                       s/ David Bramlette

                                 UNITED STATES DISTRICT JUDGE




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